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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 WESLEY D. PIERCE                                                 CIVIL ACTION
 VERSUS                                                           NO. 21-1262
 JONATHAN PORTER, et al.                                          SECTION M (2)


                                             ORDER

       Considering the complaint, the record, the applicable law, the Magistrate Judge’s Report

and Recommendation (“R&R”),1 and finding that as of this date no party has filed objections to

the R&R, the Court hereby approves the R&R and adopts it as its opinion. Accordingly,

       IT IS ORDERED that plaintiff Wesley D. Pierce’s 42 U.S.C. § 1983 claims against

defendants Dr. Jose Ham, Captain Lacey Kelly, Sheriff Randy Smith, Deputy Warren Farrell,

Captain Shaniqueka Weary, Lt. Chatelain, Deputy Johnathan Lott, Sergeant Robin, Deputy

Widdle, Lt. Fayard, Deputy Dussoy, Deputy Foto, Sergeant Harris, Corporal Glover, Deputy

Racheal Smith, Corporal Pelligrin, and Sergeant John Doe are DISMISSED WITH PREJUDICE

pursuant to 28 U.S.C. § 1915(e), § 1915A and 42 U.S.C. § 1997e as frivolous and for failure to

state a claim for which relief can be granted.

       IT IS FURTHER ORDERED that Pierce’s motion for temporary restraining order (R.

Doc. 25) is DENIED.

       IT IS FURTHER ORDERED that Dr. Ham’s motion to dismiss, or alternatively, for

summary judgment (R. Doc. 28) is DENIED without prejudice as moot.

       IT IS FURTHER ORDERED that Pierce’s § 1983 claims of excessive force and cruel

and unusual punishment against defendant Jonathan Porter arising from the alleged sexual assaults



       1
           R. Doc. 45.
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occurring within the St. Tammany Parish Jail between December 2019 and October 2020 be

allowed to proceed and remain referred to the magistrate judge for further pretrial proceedings.

       New Orleans, Louisiana, this 24th day of June, 2022.



                                                     ____________________________________
                                                     BARRY W. ASHE
                                                     UNITED STATES DISTRICT JUDGE




                                                2
